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                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 25-5067                                                      September Term, 2024
                                                                             1:25-cv-00766-JEB
                                                        Filed On: March 24, 2025 [2107428]
J.G.G., et al.,

                   Appellees

         v.

Donald J. Trump, in his official capacity as
President of the United States, et al.,

                   Appellants


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Consolidated with 25-5068

         BEFORE:           Circuit Judges Henderson, Millett, and Walker


                         COURTROOM MINUTES OF ORAL ARGUMENT

PROCLAMATION BEING MADE, the Court opened on Monday, March 24, 2025 at
1:34 p.m. The cause was heard as case No. 1 of 1 and argued before the Court by:

       Drew C. Ensign (DOJ), counsel for Appellants.
       Lee Gelernt, counsel for Appellees.


                                                               FOR THE COURT:
                                                               Clifton B. Cislak, Clerk

                                                       BY:     /s/
                                                               Anne A. Rothenberger
                                                               Deputy Clerk
